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                   10
                                                    UNITED STATES DISTRICT COURT
                   11                             NORTHERN DISTRICT OF CALIFORNIA
                                                       SAN FRANCISCO DIVISION
                   12
                                                                          Case No. 3:23-cv-06522-MMC
                   13      UMG RECORDINGS, INC., CAPITOL
                           RECORDS, LLC, CONCORD BICYCLE                  DEFENDANTS INTERNET ARCHIVE,
                   14      ASSETS, LLC, CMGI RECORDED MUSIC               KAHLE, BLOOD, AND GEORGE BLOOD
                           ASSETS LLC, SONY MUSIC                         L.P.’S NOTICE OF MOTION AND MOTION
                   15      ENTERTAINMENT, and ARISTA MUSIC,               TO DISMISS AND SUPPORTING
                                                                          MEMORANDUM OF POINTS AND
                   16                                                     AUTHORITIES
                                 Plaintiffs,
                   17                                                     Date:      March 22, 2024
                                                                          Time:      9:00 a.m.
                   18      v.                                             Place:     Courtroom 7, 19th Floor
                                                                          Judge:     Hon. Maxine M. Chesney
                   19
                           INTERNET ARCHIVE, BREWSTER
                   20      KAHLE, KAHLE/AUSTIN FOUNDATION,
                           GEORGE BLOOD, and GEORGE BLOOD
                   21      L.P.,
                   22            Defendants.
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                                                                                               CASE NO. 3:23-cv-06522-MMC
ATTOR NEY S A T LA W
 SAN FRANCISCO
                                                                                   DEFENDANTS INTERNET ARCHIVE, KAHLE,
                                                                                    BLOOD, AND GBLP’S MOTION TO DISMISS
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                       1                               NOTICE OF MOTION AND MOTION

                       2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                       3          PLEASE TAKE NOTICE that on March 22, 2024, or as soon thereafter as the matter may

                       4   be heard, in the United States District Court for the Northern District of California, Courtroom of

                       5   the Honorable Maxine M. Chesney, 450 Golden Gate Avenue, San Francisco, CA 94102, 19th

                       6   Floor, Defendants Internet Archive, Brewster Kahle, George Blood, and George Blood L.P.

                       7   (“GBLP”) will jointly move this Court for an order, pursuant to Federal Rule of Civil

                       8   Procedure 12(b)(6), dismissing the complaint filed in this action on August 11, 2023 (ECF No. 1)

                       9   (“Compl.”). The Motion is based on this Notice, the supporting Memorandum of Points and

                   10      Authorities, the concurrently filed Declaration of Andrew M. Gass and Request for Judicial Notice

                   11      with their accompanying materials, the complete files and records in this action, and any additional

                   12      material and arguments as may be considered in connection with the hearing.

                   13                                         ISSUE TO BE DECIDED

                   14             Whether Plaintiffs’ claims premised on alleged acts of copyright infringement that

                   15      occurred more than three years before the filing of the Complaint must be dismissed as time barred

                   16      under the Copyright Act’s statute of limitations, 17 U.S.C. § 507(b).

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 SAN FRANCISCO                                                               1       DEFENDANTS INTERNET ARCHIVE, KAHLE,
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                       1                       MEMORANDUM OF POINTS AND AUTHORITIES

                       2   I.     INTRODUCTION
                       3          The complaint in this case seeks to condemn a technological initiative to preserve a fast-

                       4   disappearing part of this country’s cultural heritage: the sounds of 78 rpm records, a format for

                       5   distributing recorded music widely used from the late 19th century through the 1950s. The specific

                       6   quality of the sound, including the peculiar and distinct crackles and other imperfections that are

                       7   a hallmark of this antiquated medium formed an indelible part of American culture for many

                       8   decades. But the physical recordings themselves tend to disintegrate over time—and as the

                       9   complete set of these old records gradually becomes unplayable, their unique contributions to our

                   10      history is on a precipitous path to oblivion.

                   11             Defendant Internet Archive is a not-for-profit research library. For nearly two decades, it

                   12      has worked to preserve 78 rpm records. Over six years ago, the Archive joined with a number of

                   13      other libraries, universities, and related institutions to launch the Great 78 Project, an ambitious

                   14      undertaking to systematically digitize the sounds of these relics—hisses, pops, and all—in order

                   15      to preserve them for scholars and future generations. More than three years ago (outside the statute

                   16      of limitations for challenging any digitization that had occurred as of that date) the trade

                   17      association representing Plaintiff record labels sent a letter expressing its members’ disapproval of

                   18      that project. Internet Archive founder Brewster Kahle promptly responded that the project would

                   19      gladly exclude any digitization of the labels’ recordings that they identified to Internet Archive.

                   20      The record labels never responded to that letter.

                   21             Out of the blue, over three years later, the record labels sued. They named as Defendants

                   22      the Archive itself; Kahle; the contractor with whom the Archive collaborated on its digitization

                   23      efforts, George Blood (a specialist who frequently works with record labels themselves); George

                   24      Blood’s company, George Blood L.P. (“GBLP”); and, for some reason, the separate philanthropic

                   25      foundation that Kahle co-founded, the Kahle/Austin Foundation.            (The Foundation has no

                   26      relationship whatsoever to the Great 78 Project.)
                   27             The complaint asserts direct, contributory, and vicarious infringement of Plaintiffs’

                   28      purportedly copyrighted works related to Defendants’ alleged (a) “copying 78 rpm physical

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 SAN FRANCISCO                                                                 1     DEFENDANTS INTERNET ARCHIVE, KAHLE,
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                       1   records . . . into digital files,” (b) “copying those recordings to a server,” and (c) transferring or

                       2   streaming those files to the public. See Compl. ¶ 9. Under the Copyright Act’s statute of

                       3   limitations, Plaintiffs may not challenge any alleged infringement that occurred more than three

                       4   years before the complaint was filed (i.e., before August 11, 2020), unless they did not discover,

                       5   and a reasonable plaintiff should not have discovered, that earlier infringement. See Media Rts.

                       6   Techs., Inc. v. Microsoft Corp., 922 F.3d 1014, 1022 (9th Cir. 2019). But the complaint concedes

                       7   that Plaintiffs have been well aware of those activities since at least July 2020 (when they had their

                       8   trade association send the letter to Internet Archive), and that a substantial portion of Defendants’

                       9   allegedly infringing activity had already occurred before that date. Compl. ¶¶ 79-80. At a

                   10      minimum, a reasonable plaintiff in the record labels’ position would have known that a potential

                   11      cause of action for copyright infringement had accrued at that time.

                   12              As a result, any claims premised on allegations of infringement that pre-date August 11,

                   13      2020, are time-barred and must be dismissed. It is important that they be dismissed at the outset

                   14      of the case because, in addition to being required as a matter of law, that limitation on Plaintiffs’

                   15      claims will significantly narrow the scope of the case and materially advance the ultimate

                   16      resolution of this litigation.

                   17              For these reasons, Defendants Internet Archive, Kahle, Blood, and GBLP respectfully

                   18      request that the Court dismiss with prejudice any claims premised on alleged acts of infringement

                   19      that pre-date August 11, 2020, as time-barred.

                   20      II.     BACKGROUND
                   21              A.      FACTUAL BACKGROUND
                   22                      1.      The Internet Archive And 78 RPM Artifacts
                   23              The Internet Archive is a not-for-profit research library founded by Brewster Kahle in

                   24      1996. Compl. ¶ 29, 47. The organization is perhaps best known for its “Wayback Machine,”

                   25      which has archived billions of web pages going back 26 years, and provides free access to these

                   26      historical materials for researchers, academics, and the public. See About the Internet Archive,
                   27      Internet Archive, https://archive.org/about/ (last visited Jan. 25, 2024). Beyond the Wayback

                   28      Machine, the Internet Archive works to catalog, preserve, and provide public access to a wide

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 SAN FRANCISCO                                                                2       DEFENDANTS INTERNET ARCHIVE, KAHLE,
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                       1   variety of other materials of significant cultural and historical importance. Id. One of these

                       2   archival initiatives is the “Great 78 Project,” which works to collect, preserve, and digitize 78

                       3   revolution-per-minute (“rpm”) music records. Compl. ¶ 48.

                       4           “The 78 rpm record was introduced in the 1890s, about ten years after Thomas Edison

                       5   developed his phonograph machine and revolutionized the ways human beings thought about

                       6   sound.” Amanda Petrusich, Do Not Sell At Any Price 10 (2014) (hereinafter “Petrusich”). Made

                       7   out of a brittle shellac resin material, rather than the vinyl that is used for records today, “78s”

                       8   became “the standard format of sound recordings” throughout “the first half of the twentieth

                       9   century,” and “at least a million titles had been issued by various record companies around the

                   10      world” in the 78 rpm format by the late 1950s. Pekka Gronow, The World’s Greatest Sound

                   11      Archive: 78 RPM Records as a Source for Musicological Research, 43 Traditiones 31, 32 (2014).

                   12      By the 1960s, however, 78 rpm records fell out of favor, and were “gradually replaced by” newer,

                   13      lower-speed formats, like “seven-inch, two-song 45s and twelve-inch, long-playing 331/3 records.”

                   14      Petrusich, supra, at 10.

                   15              Because of the materials used to produce 78 rpm records, and the technology and method

                   16      used to record the music onto the records, the sound of a 78 rpm record differs significantly from

                   17      the music that listeners are accustomed to hearing on digital streaming services like Spotify or

                   18      Apple Music, compact discs, or even vinyl records. “Depending on the quality of the [78 rpm]

                   19      recording and the condition of the disc, there’s often a high and persistent background hiss” or the

                   20      sound “might be fully obscured by a staticky sizzle.” Id. at 17. Preserving these records as they

                   21      would have been heard and experienced by listeners at the time they were made approximately

                   22      one hundred years ago is a critically important part of archiving these works. By painstakingly

                   23      digitizing the actual sounds produced by the physical objects—imperfections and all—one is able

                   24      to “captur[e] an era.” Exhibit C.1 Moreover, 78 rpm records “contain important recordings that

                   25      capture the evolution of music in the early 20th century, including rare jazz and blues, old hillbilly,

                   26      and some of the earliest examples of rock ‘n’ roll,” many of which were never transferred from
                   27

                   28      1
                            “Ex. __” is a reference to the Exhibits to the Declaration of Andrew M. Gass, filed concurrently
                           with this motion.
                                                                                                   CASE NO. 3:23-cv-06522-MMC
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 SAN FRANCISCO                                                                 3       DEFENDANTS INTERNET ARCHIVE, KAHLE,
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                       1   78s to other media. Id. For example, Aileen Stanley was “one of the most popular singers of the

                       2   1920s, who sold some 25 million records,” but her music “can only be found on rare 78s” today.

                       3   Id.

                       4          Despite their popularity throughout the first half of the twentieth century, 78 rpm records

                       5   are a uniquely “finite resource.” Petrusich, supra, at 4. Because of the materials used for their

                       6   manufacture, they “are thick, brittle, and heavy,” id. at 14, and yet “are remarkably fragile,” id. at

                       7   4. Many 78 rpm records were “produced in very limited quantities.” Id. For these reasons, “[t]he

                       8   stakes are . . . high from a preservationist standpoint” for continued access to the unique sound of

                       9   78 rpm records. Amanda Petrusich, They’ve Got Those Old, Hard-to-Find Blues, N.Y. Times

                   10      (July 8, 2009), https://www.nytimes.com/2009/07/12/arts/music/12petr.html.

                   11                     2.      Launch Of The Great 78 Project
                   12             In recognition of the importance of 78 rpm records to our shared cultural heritage, the

                   13      Internet Archive and its partners launched the Great 78 Project over six years ago to collect,

                   14      preserve, and digitize the unique sounds embodied in 78 rpm records for the benefit of researchers,

                   15      historians, members of the public, and future generations. See Compl. ¶¶ 48-49; The Great 78

                   16      Project, Internet Archive, https://great78.archive.org/ (last visited Jan. 25, 2024) (hereinafter “The

                   17      Great 78 Project”).

                   18             The Internet Archive and the Great 78 Project partnered with GBLP for professional

                   19      digitization of 78 rpm records donated to the Great 78 Project by collectors and libraries. See

                   20      Compl. ¶¶ 12, 48-49. These collections include works donated, for example, by the Archive of

                   21      Contemporary Music, the Boston Public Library Sound Archive, universities, and individual

                   22      collectors. See About Collections, The Great 78 Project, https://great78.archive.org/about/ (last

                   23      visited Jan. 25, 2024).     The digitization process involves an engineer using sophisticated

                   24      equipment and software to transfer the source media of the 78 rpm record into a digital format that

                   25      can be archived electronically and accessed and played digitally. See Process, George Blood L.P.,

                   26      https://www.georgeblood.com/process (last visited Jan. 25, 2024). That digitization process
                   27      includes the use of “different sizes and shapes of stylus”—the part of a record player that holds

                   28      the needle that reads or plays the recorded sounds in the grooves of a record—to digitize the same

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                       1   recordings. The Great 78 Project; see also Ex. C (describing how GBLP uses a “turntable with

                       2   four styluses—each a different size to pick up the sound in a distinct way”). The size and shape

                       3   of the stylus determines the sound generated by the record, because the stylus affects the vibrations

                       4   generated in response to the variations in the record’s grooves. By capturing the differences in

                       5   sound generated by different styluses, this recording process “facilitate[s] different kinds of

                       6   analysis” by researchers. Ex. D (“[D]ifferent types of styluses can affect how a record sounds

                       7   when played, and playback speeds were not standardized until around the late ’20s, meaning there

                       8   is debate about the ‘correct speed’ at which a record should be played.”). Creating those kinds of

                       9   examples of varied recording and playing styles is important to preserve these works as they would

                   10      have been heard and experienced at the time they were created.

                   11             After the records have been painstakingly digitally archived in this way, the physical

                   12      records are stored for long-term preservation, and the digital versions of the recordings are

                   13      uploaded to the Great 78 Project’s website by the Internet Archive, where they can be accessed by

                   14      researchers, historians, and members of the public to listen to online. See The Great 78 Project:

                   15      Preservation, Internet Archive, https://great78.archive.org/preservation/ (last visited Jan. 25,

                   16      2024); Compl. ¶¶ 48-49.

                   17             The Great 78 Project was no secret. Soon after its launch, the Great 78 Project received

                   18      broad press coverage within and outside of the music industry. See, e.g., Ex. D (reporting that “the

                   19      Great 78 Project to date has put over 50,000 digitized 78rpm discs and cylinder recordings on the

                   20      Internet Archive,” and linking to the Great 78 Project’s Twitter account “that tweets links to one

                   21      of its newly digitized 78s every 10 minutes”); Ex. E (reporting that the “volunteer group simply

                   22      wants to preserve old vinyl records. They believe the 78rpm vinyl records and cylinder recordings

                   23      are valuable research artifacts.”); Ex. F (reporting that GBLP was digitizing roughly 50 singles per

                   24      engineer per day, or 5,000 to 6,000 sides per month); Ex. G (reporting the Boston Public Library’s

                   25      “substantial collection [is] being transferred to the Internet Archive [a]s part of the archive’s

                   26      broader Great 78 Project, which aims to collect, catalog and digitize millions of vinyl records”);
                   27      Zoë Beery, The Great 78 Project Is Preserving Our Sonic Past, Outline (Dec. 7, 2017),

                   28      https://theoutline.com/post/2572/great-78-project-record-archive-podcast (interviewing George

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                       1   Blood about GBLP and the Great 78 Project’s digitization efforts); Ex. H (reporting that “[t]he

                       2   Internet Archive and [partners] are attempting to preserve and digitize every single remaining 78-

                       3   rpm vinyl album, and they’re putting each of these recordings online, for free”); Ex. I (reporting

                       4   that Internet Archive “managed to preserve the sounds of brittle 78 rpm record discs, some of

                       5   which are so fragile, they could crumble in your hands”).2 As many of these publications

                       6   highlighted, the recordings targeted by the Great 78 Project are not “commonly available” on—

                       7   indeed, “are overlooked” by—commercial streaming platforms. Ex. D.

                       8           The Great 78 Project has been praised by curators and historians for the ambitious scale

                       9   and importance of its work. For example, Jonathan Hiam—who served as curator of the American

                   10      Music Collection and the Rodgers and Hammerstein Archives of Recorded Sound at the New York

                   11      Public Library—commented that the Great 78 Project “demonstrate[s] what can and should be

                   12      done if any institution is really serious about preserving our collective cultural experience as

                   13      expressed in sound.” About Collections, The Great 78 Project, https://great78.archive.org/about/

                   14      (last visited Jan. 25, 2024).

                   15              B.      HISTORY OF PLAINTIFFS’ DISPUTE
                   16              On July 22, 2020—years after the Great 78 Project had been established and generated

                   17      significant industry attention—the Recording Industry Association of America (“RIAA”), a trade

                   18      association representing record labels and other members of the recording industry, including most

                   19      of the Plaintiffs,3 wrote to the Internet Archive asserting that the Great 78 Project had infringed its

                   20      members’ copyrights by digitizing and making certain works available for streaming on the

                   21      internet. Ex. A (incorporated at Compl. ¶ 80). Indeed, in detailing its infringement allegations,

                   22      the RIAA even identified specific artists such as Elvis Presley, Duke Ellington, and Billie Holiday,

                   23      among others, evidencing a thorough investigation of the Great 78 Project. Id. The Internet

                   24      Archive responded, offering to discuss removal of specific works with the RIAA and its members

                   25

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                           2
                              A number of these publications mistakenly refer to the 78 rpm records as made of vinyl, when
                   27      they are actually made of the much more fragile shellac. See Ex. I.
                           3
                   28        See RIAA Members, RIAA, https://www.riaa.com/about-riaa/riaa-members/ (last visited Jan. 25,
                           2024).
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                       1   to the extent that there are “particular recordings” that the members could identify. Ex. B

                       2   (incorporated at Compl. ¶ 81). The RIAA and its members never responded.

                       3           More than three years later, Plaintiffs abruptly filed this lawsuit on August 11, 2023, in the

                       4   Southern District of New York. See generally Compl. at 1. Plaintiffs are six record labels—Sony

                       5   Music Entertainment, Arista Music, UMG Recordings, Capitol Records, Concord Bicycle Assets

                       6   (“CBA”), and CMGI Recorded Music Assets. Compl. ¶¶ 21-27. Plaintiffs allege that they “own

                       7   and/or control in whole or in part the exclusive rights in innumerable sound recordings” that have

                       8   been “infringed by Defendants through the Great 78 Project.” Compl. ¶ 28. Plaintiffs do not

                       9   specify exactly what rights they own as to each asserted sound recording. Given the age of most

                   10      of the recordings preserved by the Great 78 Project, Plaintiffs’ claims depend on tracing the chain

                   11      of title of their alleged copyrights as far back as the turn of the twentieth century (or earlier). Cf.

                   12      ECF No. 1-1 (table of alleged sound recordings at issue). Plaintiffs assert claims for direct

                   13      infringement, contributory infringement, and vicarious infringement under the Copyright Act. See

                   14      Compl. ¶¶ 94-198.

                   15              The case was assigned to Judge Lorna Schofield and, consistent with Judge Schofield’s

                   16      practices and procedures for civil cases, the parties submitted pre-motion letters outlining the bases

                   17      for proposed motions in advance of the initial case management conference. In their pre-motion

                   18      letter, Defendants explained that they intended to move to transfer the case from the Southern

                   19      District of New York to the Northern District of California, or in the alternative, to dismiss the

                   20      complaint against certain Defendants for lack of personal jurisdiction, and for failure to state a

                   21      claim. See ECF No. 35 at 1-3. Defendants also proposed that the Court stage the briefing, such

                   22      that any motion to transfer or dismiss for lack of personal jurisdiction could be resolved first, with

                   23      any motion to dismiss for failure to state a claim to follow only in the event that a motion to transfer

                   24      was denied or the Court concluded it had personal jurisdiction. Id. at 1, 3. Per Judge Schofield’s

                   25      Individual Rules, Defendants’ pre-motion letters “stay[ed] the time to answer or move until further

                   26      ordered by the Court.” Individual Rules and Procedures for Civil Cases for Judge Lorna G.
                   27      Schofield, Rule III.C.2. On October 19, 2023, following the initial case conference, Judge

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                       1   Schofield ordered that Defendants file “a single transfer motion,” with any Rule 12 motions to be

                       2   decided only after the motion to transfer was resolved, if necessary. ECF No. 44.

                       3          Judge Schofield granted Defendants’ motion to transfer to the Northern District of

                       4   California on December 8, 2023. ECF No. 59. The Northern District of California acknowledged

                       5   receipt of the case on December 19, 2023, and the initial case management conference was set for

                       6   March 22, 2024. ECF Nos. 60 & 61. Pursuant to Local Civil Rule 16-2(c) of the Rules of this

                       7   Court, Plaintiffs served Defendants with “a copy of the [Initial Case Management Conference]

                       8   Order and the pertinent supplementary materials specified in Civil L.R. 4-2” on January 9, 2024.

                       9   ECF No. 70.

                   10             C.      PLAINTIFFS’ THEORIES OF LIABILITY
                   11             Plaintiffs assert the exclusive rights “in whole or in part” to over 2,700 sound recordings,

                   12      all of them recorded at least 70 years ago, if not more. See, e.g., Compl. ¶¶ 64-68; see also ECF

                   13      No. 1-1. Plaintiffs advance three distinct theories of liability for copyright infringement: (1) direct

                   14      infringement, (2) contributory infringement, and (3) vicarious liability for another’s infringement.

                   15      But Plaintiffs’ overreaching claims and sprawling allegations are defective from the start.

                   16             Even assuming Plaintiffs can establish their (respective) ownership of the exclusive right

                   17      allegedly infringed of the over 2,700 asserted works, Plaintiffs will not be able to excuse their

                   18      delay of (at least) three years in bringing this lawsuit. As explained, Plaintiffs undeniably had

                   19      knowledge of specific instances of alleged infringement associated with Internet Archive’s Great

                   20      78 Project, as evidenced by the RIAA’s cease and desist letter sent on July 22, 2020. But Plaintiffs

                   21      did not bring suit until August 11, 2023—outside of the Copyright Act’s three-year statute of

                   22      limitations for any infringement occurring before the RIAA sent its letter. As to these instances

                   23      of purported infringement occurring before August 11, 2020 (the three-year lookback period), the

                   24      allegations fail to state a claim under Rule 12. And for the balance of Plaintiffs’ claims that may

                   25      not be time-barred (if any), Defendants’ archiving activities at issue here fall squarely within both

                   26      the text and the spirit of the Copyright Act’s fair use defense (among others). Indeed, the Great
                   27      78 Project is a not-for-profit community-driven preservation project specifically designed to

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                       1   safekeep the character and history of 78 rpm recordings for scholarship and research.4 While this

                       2   Motion will not dispense with the entirety of the case, dismissing Plaintiffs’ time-barred claims

                       3   will dispense with unnecessary distraction and cost (for the parties and the Court).

                       4   III.   ARGUMENT
                       5          A.      LEGAL STANDARD
                       6          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

                       7   accepted as true, to state a claim to relief that is plausible on its face.” Great Minds v. Office

                       8   Depot, Inc., 945 F.3d 1106, 1109 (9th Cir. 2019) (internal quotation marks omitted) (quoting

                       9   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “A claim has facial plausibility when the plaintiff

                   10      pleads factual content that allows the court to draw the reasonable inference that the defendant is

                   11      liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. For purposes of the motion to dismiss,

                   12      the court accepts well-pleaded factual allegations in the complaint as true and draws reasonable

                   13      inferences in the plaintiff’s favor, but disregards “mere conclusory statements” and legal

                   14      conclusions. Teleaurus VPC, LLC v. Power, 623 F.3d 998, 1003 (9th Cir. 2010) (citation omitted).

                   15             When resolving a motion to dismiss for failure to state a claim under Federal Rule of Civil

                   16      Procedure 12(b)(6), a court “must consider the complaint in its entirety, as well as other sources

                   17      courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular,

                   18      documents incorporated into the complaint by reference, and matters of which a court may take

                   19      judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

                   20      Documents that are subject to judicial notice may be considered “without converting a motion to

                   21      dismiss into a motion for summary judgment.” Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d

                   22      1005, 1016 n.9 (9th Cir. 2012).

                   23             A statute of limitations defense may be raised by way of a motion to dismiss “if the running

                   24      of the limitations period is apparent on the face of the complaint.” Cross v. City of San Francisco,

                   25      386 F. Supp. 3d 1132, 1141 (N.D. Cal. 2019) (citation omitted); see also Rivera v. Peri & Sons

                   26
                   27
                           4
                             Defendants’ fair use and other affirmative defenses and limitations of liability are not presented
                   28      by this motion, but are referenced here to help illustrate why narrowing the case by dismissing
                           facially time-barred claims will help focus the case on the relevant issues.
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                       1   Farms, Inc., 735 F.3d 892, 902 (9th Cir. 2013) (“When an affirmative defense is obvious from the

                       2   face of a complaint, . . . a defendant can raise that defense in a motion to dismiss.”).

                       3           B.      A SIGNIFICANT BULK OF PLAINTIFFS’ CLAIMS, PREMISED ON
                                           ALLEGED INFRINGEMENT THAT OCCURRED BEFORE AUGUST 11,
                       4                   2020, IS TIME-BARRED AND MUST BE DISMISSED
                       5           Plaintiffs filed the complaint on August 11, 2023. The Copyright Act states: “No civil

                       6   action shall be maintained under the [Act] unless it is commenced within three years after the claim

                       7   accrued.” 17 U.S.C. § 507(b). As the Supreme Court has explained, the limitations provision

                       8   “bars relief of any kind for conduct occurring prior to the three-year period.” Petrella v. Metro-

                       9   Goldwyn-Mayer, Inc., 572 U.S. 663, 667 (2014). Moreover, claims for copyright infringement are

                   10      subject to “the separate-accrual rule.” Id. at 671. Under that rule, “each infringing act starts a new

                   11      limitations period.” Id. In other words, there is no “recovery for continuing copyright violations.”

                   12      Starz Ent., LLC v. MGM Domestic Television Distrib., LLC, 39 F.4th 1236, 1241 (9th Cir. 2022).

                   13      Thus, “an infringement is actionable within three years, and only within three years, of its

                   14      occurrence,” and an “infringer is insulated from liability for earlier infringements of the same

                   15      work.” Petrella, 572 U.S. at 671. The “limitations period generally begins to run at the point

                   16      when ‘the plaintiff can file suit and obtain relief,’” i.e., “when an infringing act occurs.” Id. at 670

                   17      (citation omitted). This is known as “the incident of injury rule.” Id. As an alternative to the

                   18      incident of injury rule, the Ninth Circuit applies the “discovery rule.” See Starz, 39 F.4th at 1239-

                   19      40. Under that rule, “a claim for copyright infringement may accrue when the copyright owner

                   20      discovers, or reasonably should have discovered, the infringement.” Id. at 1240.5

                   21              The Act’s three-year statute of limitations and the discovery rule together prohibit Plaintiffs

                   22      from challenging any alleged act of copyright infringement that pre-dates August 11, 2020, unless

                   23      Plaintiffs can demonstrate that they neither knew nor should have known that their copyright

                   24      infringement claim had accrued before that date. See Petrella, 572 U.S. 669-72; Starz, 39 F.4th

                   25      1239-42. But Plaintiffs’ own complaint makes clear that, for a substantial swath of alleged

                   26      instances of direct infringement of works in suit, their claims are time barred.
                   27
                           5
                             The Supreme Court has reserved the question whether the discovery rule applies in Copyright
                   28      Act cases, or instead whether the limitations period always begins to run immediately upon the
                           incident of injury. See Petrella, 572 U.S. at 670 n.4; Starz, 39 F.4th at 1241-42.
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                       1          As the complaint describes, the RIAA (Plaintiffs’ trade association) sent a letter to the

                       2   Internet Archive on July 22, 2020, asserting that the Great 78 Project infringed Plaintiffs’ and

                       3   others’ copyrighted works. See Compl. ¶ 80. That letter alleged:

                       4                  [Y]ou . . . have reproduced thousands of sound recordings in which
                                          RIAA member companies own or exclusively control copyrights,
                       5                  and have made those recordings available to the public for
                                          unrestricted download and streaming, all without the consent of
                       6                  right owners. . . . Your unauthorized reproduction, distribution and
                                          public performance of these recordings is a plain violation of the
                       7                  RIAA member companies’ rights . . . and constitutes nothing less
                                          than piracy on a massive scale.
                       8

                       9   Compl. ¶ 80 (citation omitted). In other words, the letter acknowledges plaintiffs’ belief, as of

                   10      July 22, 2020, that “thousands” of recordings had already been digitized and uploaded to the Great

                   11      78 Project, including those by specific named artists. Id.; see also Ex. A. And it admits that the

                   12      RIAA and its members had actual knowledge of the alleged “violation of [their] rights,” and

                   13      therefore knowledge that a cause of action for copyright infringement had accrued, by July 22,

                   14      2020. Compl. ¶ 80; Ex. A. At that point, Plaintiffs knew that for each of those thousands of

                   15      recordings, a claim for direct infringement against Defendants related to the digitization and

                   16      uploading of those recordings had accrued, as had any claims for contributory or vicarious liability

                   17      from the digitization and uploading that had occurred prior to that date.

                   18             And even if Plaintiffs did not have actual knowledge of those alleged acts of infringement,

                   19      the RIAA letter at a minimum demonstrates that a reasonable plaintiff “should have discovered”

                   20      the alleged infringement and that a cause of action for infringement had accrued as of that date.

                   21      Starz, 39 F.4th at 1242 (emphasis added). That conclusion is only underscored by the fact that the

                   22      Great 78 Project had been highlighted by mainstream and industry news outlets as early as 2017.

                   23      See, e.g., Ex. D (reporting in August 2017 that “the Great 78 Project to date has put over 50,000

                   24      digitized 78rpm discs and cylinder recordings on the Internet Archive” and linking to the Great 78

                   25      Project’s Twitter account “that tweets links to one of its newly digitized 78s every 10 minutes”);

                   26      see also supra at 5-6 (discussing other news coverage). That undoubtedly provided Plaintiffs
                   27      “enough information to warrant an investigation which, if reasonably diligent, would have led to

                   28      discovery of the claim.” Oracle Am., Inc. v. Hewlett Packard Enter. Co., 971 F.3d 1042, 1047-48

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                       1   (9th Cir. 2020) (alteration and citation omitted) (concluding that Oracle’s claims were time-barred

                       2   because a reasonable plaintiff in Oracle’s position should have discovered its claim had accrued).

                       3   This is particularly true given the litigation experience and focus of the Plaintiffs here: seasoned

                       4   corporate litigators who routinely file copyright infringement suits.6 See, e.g., Minden Pictures,

                       5   Inc. v. Buzzfeed, Inc., 390 F. Supp. 3d 461, 467 (S.D.N.Y. 2019) (explaining that a “reasonable

                       6   copyright holder in Minden Pictures’ position,” i.e., “a seasoned litigator that has filed 36 lawsuits

                       7   to protect its copyrights [in the years leading up to the complaint]—should have discovered, with

                       8   the exercise of due diligence, that its copyright was being infringed within the statutory time

                       9   period”).

                   10             Indeed, courts regularly rely on cease-and-desist letters like the one sent by the RIAA to

                   11      conclude that a copyright infringement claim accrued under the discovery rule no later than the

                   12      date of the letter. See, e.g., Monbo v. Nathan, 623 F. Supp. 3d 56, 86-87 (E.D.N.Y. 2022)

                   13      (concluding that copyright claim accrued under discovery rule no later than letter to defendants

                   14      asserting infringement and holding that claims were time-barred); Axxiom Mfg., Inc. v. McCoy

                   15      Invs., Inc., 846 F. Supp. 2d 732, 746-47 (S.D. Tex. 2012) (same); Colo’n v. Akil, 2012 WL

                   16      13012726, at *1 (C.D. Cal. May 8, 2012) (similar); Big East Ent., Inc. v. Zomba Enter., Inc., 453

                   17      F. Supp. 2d 788, 794-95 (S.D.N.Y. 2006) (similar); Barksdale v. Robinson, 211 F.R.D. 240, 244-

                   18      45 (S.D.N.Y. 2002) (similar).

                   19             Given that Plaintiffs’ claims for infringement from the alleged digitization and uploading

                   20      of these “thousands” of recordings, and for any claims for contributory or vicarious infringement

                   21      related to those alleged acts, accrued no later than July 22, 2020, the discovery rule provides no

                   22
                           6
                   23        See, e.g., BMG Rts. Mgmt. (US) LLC v. Altice USA, Inc., No. 2:22-cv-00471 (E.D. Tex. Dec. 14,
                           2022) (copyright infringement suit by plaintiffs Capitol Records LLC, Concord Bicycle Assets
                   24      LLC, CMGI, and UMG Recordings, Inc.); Sony Music Ent. v. Vital Pharms., Inc., No. 1:21-cv-
                           22825 (S.D. Fla. Aug. 3, 2021) (copyright infringement suit by plaintiffs Sony Music
                   25      Entertainment and Arista Music); Sony Music Ent. v. Cox Commc’ns, Inc., No. 1:18-cv-00950
                           (E.D. Va. July 31, 2018) (copyright infringement suit by plaintiffs Sony Music Entertainment,
                   26      Arista Music, Capitol Records LLC, and UMG Recordings, Inc.); Atl. Recording Corp. v.
                           Spinrilla, LLC, No. 1:17-cv-00431 (N.D. Ga. Feb. 3, 2017) (copyright infringement suit by
                   27      plaintiffs Arista Music, Sony Music Entertainment, Capitol Records LLC, and UMG Recordings,
                           Inc.); UMG Recordings, Inc. v. Grande Commc’ns Networks LLC, No. 1:17-cv-00365 (W.D. Tex.
                   28      Apr. 21, 2017) (copyright infringement suit by plaintiffs UMG Recordings, Inc., Arista Music,
                           Capitol Records LLC, and Sony Music Entertainment).
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                       1   relief from the Copyright Act’s three-year limitations period. As a result, Plaintiffs’ claims must

                       2   be limited to “retrospective relief running only three years back from the date the complaint was

                       3   filed”—i.e., August 11, 2020. Petrella, 572 U.S. at 672. This Court should enter an order

                       4   dismissing with prejudice any claims premised on allegations of infringement based on conduct

                       5   by any Defendant that occurred prior to August 11, 2020.

                       6          While it’s true that dismissal of claims premised on alleged infringement that took place

                       7   before August 11, 2020, will not resolve the case entirely, dismissal at this juncture will have a

                       8   significant and beneficial narrowing effect on the scope of this case, and could materially advance

                       9   the ultimate resolution of Plaintiffs’ remaining claims. Specifically, as to the at least thousands of

                   10      recordings with respect to which Plaintiffs’ claims are time-barred, the case would be reduced to

                   11      Plaintiffs’ claims for contributory or vicarious liability related to third-party patrons’ streaming or

                   12      downloading of recordings on the Great 78 Project’s website (after August 11, 2020).

                   13             Plaintiffs face significant hurdles to establishing those claims on the merits. Claims of

                   14      secondary liability must be premised on an underlying instance of direct infringement, meaning

                   15      Plaintiffs will be required to prove that third party patrons’ streams infringed Plaintiffs’ copyrights,

                   16      and did not constitute fair use. See Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 591 F. Supp.

                   17      2d 1098, 1104 (N.D. Cal. 2008) (“All theories of secondary liability for copyright and trademark

                   18      infringement require some underlying direct infringement by a third party.”). As Defendants will

                   19      show, patrons’ streaming of archival versions of 78 rpm records is generally for education and for

                   20      cultural and historical research, such as, for example, studying “the ways in which listening,

                   21      performance, and the function of music have changed over time.” History of Music (MUSIC 70

                   22      001      –     LEC       001),      Academic       Guide,       Univ.      of     Calif.     Berkeley,

                   23      https://classes.berkeley.edu/content/2024-spring-music-70-001-lec-001 (last visited Jan. 25,

                   24      2024). Such use is quintessentially “fair” and non-infringing. See, e.g., Tresóna Multimedia, LLC

                   25      v. Burbank High Sch. Vocal Music Ass’n, 953 F.3d 638, 652 (9th Cir. 2020) (concluding that

                   26      nonprofit educational use of work by high school music teacher was fair use). As such, these
                   27      patron streams do not constitute acts of direct infringement for which Defendants could be

                   28      secondarily liable. See, e.g., Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1172-73

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                       1   (N.D. Cal. 2019) (dismissing secondary liability claims for failure to adequately allege underlying

                       2   direct infringer).

                       3           And even assuming Plaintiffs would be able to prove certain instances of direct

                       4   infringement, they still face the hurdles of proving the remainder of the elements of contributory

                       5   or vicarious infringement, including Defendants’ knowledge that those downloads or streams were

                       6   infringing, or that Plaintiffs’ specific recordings were draws for patrons. See generally Perfect 10,

                       7   Inc. v. Giganews, Inc., 847 F.3d 657, 673 (9th Cir. 2017); Louis Vuitton, 591 F. Supp. 2d at 1104.

                       8   Accordingly, the case will proceed very differently, and much more efficiently, once the time-

                       9   barred claims are dismissed from the complaint.

                   10              Courts routinely dismiss time-barred claims under Rule 12(b)(6) where such dismissal

                   11      would not eliminate all claims, but would have a narrowing effect on the case such as it would

                   12      here. See, e.g., Goldberg v. Cameron, 482 F. Supp. 2d 1136, 1147-48 (N.D. Cal. 2007) (dismissing

                   13      copyright infringement claims prior to August 31, 2002 as time-barred and allowing claims after

                   14      August 31, 2002 to survive); Dermansky v. Young Turks, Inc., 2023 WL 8884364, at *3-4 (C.D.

                   15      Cal. Nov. 3, 2023) (granting partial dismissal of copyright infringement claims based on statute of

                   16      limitations defense); Good Morning to You Productions Corp. v. Warner-Chappell Music, Inc.,

                   17      2013 U.S. Dist. LEXIS 198676, *10 (C.D. Cal. Oct. 13, 2013) (same). In fact, Plaintiff UMG

                   18      Recordings secured this very type of relief when it was a defendant in Johnson v. UMG

                   19      Recordings, Inc., 2019 WL 5420278, at *2-4 (C.D. Cal. Oct. 23, 2019) (granting defendant’s

                   20      motion to dismiss, in part, “as to all [copyright] claims accrued outside the relevant statute of

                   21      limitations”). As UMG Recordings explained in its briefing, “[a] court may grant a motion to

                   22      dismiss where the complaint reveals that the action is untimely,” and “Plaintiff’s Complaint plainly

                   23      reveals that his action is untimely.” Def.’s Mot. to Dismiss at 9, Johnson v. UMG Recordings,

                   24      Inc., No. 2:19-cv-02364 (C.D. Cal. June 3, 2019) (ECF No. 14). So too here.

                   25              As in Goldberg, Dermansky, Good Morning to You, and Johnson, Plaintiffs’ own

                   26      complaint admits that years of conduct and thousands of instances of alleged infringement are
                   27      time-barred under the Copyright Act’s statute of limitations. The Court should dismiss claims

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                       1   premised on those allegations with prejudice. Doing so will streamline this case and meaningfully

                       2   advance the ultimate resolution of the remaining claims.

                       3                                           CONCLUSION

                       4          For the foregoing reasons, the Court should dismiss with prejudice any claims premised on

                       5   alleged acts of infringement that pre-date August 11, 2020, as time-barred.

                       6
                           Dated: January 26, 2024                               Respectfully submitted,
                       7
                                                                                 LATHAM & WATKINS LLP
                       8
                                                                                 /s/ Andrew M. Gass
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                                                                                                  CASE NO. 3:23-cv-06522-MMC
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 SAN FRANCISCO                                                              15        DEFENDANTS INTERNET ARCHIVE, KAHLE,
                                                                                       BLOOD, AND GBLP’S MOTION TO DISMISS
